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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-0241V
                                          UNPUBLISHED


    T                 R              ,                          Chief Special Master Corcoran

                          Petitioner,                           Filed: October 13, 2020
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                          Respondent.                           Administration (SIRVA)


Carol L. Gallagher, Somers Point, NJ, for petitioner.

Camille Michelle Collett, U.S. Department of Justice, Washington, DC, for respondent.

                                 DECISION AWARDING DAMAGES1

        On February 12, 2019, T                  R        filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2
(the “Vaccine Act”). Petitioner alleges that she suffered an injury which meets the Table
definition for shoulder injury related to vaccine administration (“SIRVA”) after receiving an
influenza vaccine on October 2, 2017. Petition at 1, ¶¶ 2, 3. The case was assigned to
the Special Processing Unit of the Office of Special Masters.

        On October 9, 2020, a ruling on entitlement was issued, finding Petitioner entitled
to compensation for SIRVA. On October 13, 2020, Respondent filed a proffer on award
of compensation (“Proffer”) indicating Petitioner should be awarded $34,000.00 for past
pain and suffering. Proffer at 1. In the Proffer, Respondent represented that Petitioner
agrees with the proffered award. Id. Based on the record as a whole, I find that Petitioner
is entitled to an award as stated in the Proffer.

1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $34,000.00, representing compensation for her actual pain and
suffering in the form of a check payable to Petitioner. This amount represents
compensation for all damages that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
